      Case 1:17-cv-02458-TSC             Document 82-1     Filed 08/16/19     Page 1 of 2




                         DEFENDANT EEOC’S REPORT OF STEPS TO
                        IMPLEMENT THE EEO-1 COMPONENT 2 DATA
                         COLLECTION: SUBMITTED AUGUST 16, 2019


Activities Since Submission of July 26, 2019 Status Report to Court

       Pursuant to the schedule provided in the EEOC’s June 14, 2019 status report to the court,

on August 5, 2019, NORC, on behalf of the EEOC, mailed via the United States Postal Service the

first of two “reminder” letters to employers with login information for the Component 2 EEO-1

Online Filing System portal. On August 7, 2019, NORC, on behalf of the EEOC, also sent the first

of two “reminder” emails to employers with login information for the Component 2 EEO-1 Online

Filing System portal.

       On July 30, 2019, upload file validation specifications were posted to the Component 2 EEO-

1 Online Filing System website. Additionally, on August 7, 2019, an updated version of the upload

file validation specifications was posted to the Component 2 EEO-1 Online Filing System website.

       On August 15, 2019, the data file upload function and validation process were made

available to filers as an additional data collection method. The EEOC updated its public website

indicating that the data file upload function was open and directed filers to the Component 2 EEO-

1 Online Filing System website for more information. A revised version of the User’s Guide was

also posted to the Component 2 EEO-1 Online Filing System website with updated content to

support the data file upload function.

Activities Anticipated from August 16, 2019 – September 6, 2019

       Pursuant to the schedule provided in the EEOC’s June 14, 2019 status report to the court,

on August 21, 2019, NORC, on behalf of the EEOC, plans to mail via United States Postal Service

the second of two “reminder” letters to employers with login information for the Component 2

EEO-1 Online Filing System portal. On August 23, 2019, NORC, on behalf of the EEOC, plans to



                                                1
      Case 1:17-cv-02458-TSC            Document 82-1         Filed 08/16/19      Page 2 of 2




send the second reminder email to employers with login information for the Component 2 EEO-1

Online Filing System portal.

Status: The EEOC’s analysis of the response rates for EEO-1 data submitted over the last four

years to be used to assess whether the EEOC is “on track” to “complete” the Component 2 data

collection by September 30, 2019, as defined by the Court’s April 25, 2019 Order (ECF No. 71),

is under final review. The EEOC expects to make an interim filing before the next Status Report

is due to this Court, which will present and explain this analysis. At this point (and at least until a

significant percentage of employers have submitted Component 2 data), the EEOC cannot begin

to project what percentage of employers will submit Component 2 data by September 30, 2019.




                                                  2
